                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             CASE NO. 3:08MJ132-DCK


UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )         ORDER GRANTING ADMISSION
                                           )               PRO HAC VICE
JESUS RICARDO GARZA,                       )
                                           )
       Defendant                           )


        THIS MATTER IS BEFORE THE COURT on Osvaldo J Morales III’s Application

 for Admission to Practice Pro Hac Vice.

        For good cause shown, the Motion is hereby GRANTED.

        SO ORDERED.




                                               Signed: June 12, 2008




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